 Case 18-71487-jwc      Doc 18    Filed 02/14/19 Entered 02/14/19 08:26:50         Desc
                                        Page 1 of 3


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
ASHIA LATRAIL DOUGLAS                         )       CASE: A18-71487-JWC
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

      The plan as proposed will extend to sixty-three (63) months, which exceeds the sixty
(60) months allowed by 11 U.S.C. Section 1322(d).

                                             2.

        An Employer Deduction Order for Debtor's plan payments has not yet been
requested by the Debtor. The Trustee opposes the Debtor making payments directly to the
Trustee and requests they be remitted by payroll deduction to ensure feasibility of the
instant case.

                                             3.

      The Trustee requests proof of income and a copy of the 2018 tax return in order to
determine the accuracy and veracity of the plan and/or Schedules. 11 U.S.C. Section
521(1), 11 U.S.C. Section 1325(a)(3), and 11 U.S.C. Section 1325(b)(1)(B).

                                             4.

       The Debtor has failed to provide to the Trustee a copy of the 2017 tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).
 Case 18-71487-jwc      Doc 18    Filed 02/14/19 Entered 02/14/19 08:26:50        Desc
                                        Page 2 of 3


                                             5.

       The Trustee requests proof of non-filing spouse auto payments and child support
payments in order to determine the accuracy and veracity of the plan and/or Schedules. 11
U.S.C. Section 521(1), 11 U.S.C. Section 1325(a)(3), and 11 U.S.C. Section 1325(b)(1)
(B).

                                             6.

       The Chapter 13 Trustee requests proof of the post-petition mortgage payments in
order to determine feasibility of proposed plan pursuant to 11 U.S.C. 1325(a)(6).

                                             7.

       The Chapter 13 Trustee requests proof of the post-petition homeowner’s
association payments or monthly savings for the payment in order to determine feasibility
of proposed plan pursuant to 11 U.S.C. 1325(a)(6).

                                             8.

        The Debtor’s pay advices indicate that the Debtor’s income and payroll deductions
differ from Schedule I. The Trustee requests that the Schedules be amended to reflect this
income or additional documentation to support the currently filed Schedules be remitted to
the Trustee. 11 U.S.C. Section 101(10A), 11 U.S.C. Section 1325(b)(6) and 11 U.S.C
Section 1325(a)(3).

                                             9.

       The Chapter 13 plan proposes to pay $5,000.00 to the Debtor’s attorney for
payment of attorney fees. The Trustee is unable to determine whether this is a reasonable
fee and requests that Debtor's counsel appear at Confirmation and be prepared to present
evidence to the Court regarding the reasonableness of the requested fee.

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 14th day of February, 2019.
                                        Respectfully submitted,

                                        /s/__________________________________
                                        Julie M. Anania
                                        Attorney for the Chapter 13 Trustee
                                        State Bar No. 477064
 Case 18-71487-jwc     Doc 18    Filed 02/14/19 Entered 02/14/19 08:26:50      Desc
                                       Page 3 of 3


                             CERTIFICATE OF SERVICE


Case No: A18-71487-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
ASHIA LATRAIL DOUGLAS
6075 CENTENNIAL RUN
ATLANTA, GA 30349



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 14th day of February, 2019.


/s/__________________________________
Julie M. Anania
Attorney for the Chapter 13 Trustee
State Bar No. 477064
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
